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                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

IN RE:
Fitzpatrick Container Company,                        Chapter 7
                                    :
                       Debtor.                        Bky. No. 20-14139 (PMM)
____________________________________:
Lynn Feldman, as Chapter 7 Trustee
for the estate of the Fitzpatrick
Container Company,
                                    :
                                    :
                       Plaintiff.                     Adv. No. 23-0070 (PMM)
                                    :
                       v.
                                    :
John B. Lynch, Jr.,
                                    :
                                    :
                       Defendant.
                                    :
____________________________________:

                                      PRETRIAL ORDER

         AND NOW, the plaintiff having filed an adversary proceeding and the defendant having
filed a responsive pleading, it is hereby ORDERED that:

1.     If not already filed, any party that is subject to Fed. R. Bankr. P. 7007.1 shall file the
       required disclosure on or before November 14, 2023.

2.     On or before November 21, 2023, the parties shall file a Joint Statement whether they
       consent to participate in the court-annexed mediation program.
              a.      If the parties consent to mediation, the Joint Statement shall either:
                                       i.     request that the court appoint a specific individual
                                              to serve as mediator;

                                      ii.     request that the court appoint a specific individual
                                              who has indicated a willingness and ability to serve
                                              as mediator, see ¶ 2.b. below, from a list of no more
                                              than three (3) names; or

                                      iii.    advise the court that the parties cannot locate or
                                              cannot agree upon an individual to serve as
                                              mediator
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                b.      Prior to the submission of a Joint Statement that provides a list of one (1)
                        or more mediators acceptable to the parties, the parties shall contact each
                        potential appointee to determine whether the person is willing to serve as
                        mediator and whether that person has preliminarily determined that he or
                        she is not disqualified under L.B.R. 9019-2(i).

3.      On or before November 28, 2023, counsel shall have held and concluded the mandatory
        discovery conference pursuant to Fed. R. Civ. P. 26(f), incorporated into these
        proceedings by Fed.R.Bankr.P. 7026. During said conference, the parties shall discuss
        how to proceed with general discovery and electronic discovery and shall consider
        whether the discovery and pretrial schedule detailed below in this order is appropriate in
        this proceeding.

4.      On or before December 5, 2023, after the conclusion of the parties’ discovery
        conference, should the parties propose a discovery or pretrial schedule that differs
        from the one below, they shall file with the bankruptcy court a report on discovery, as
        mandated by Fed. R. Civ. P. 26(f). The parties shall detail those differences in their
        Rule 26(f) report, along with the reasons therefor. The court may, when appropriate,
        order a hearing based on the information found in the Rule 26(f) report. If the parties
        are in agreement with the discovery schedule outlined herein, no report need be
        filed.

5.      The requirements of Fed. R. Civ. P. 26(a)(1) shall not apply in this adversary proceeding.

6.      The following discovery and trial schedule shall be considered by the parties in their
        deliberations at their discovery conference:

                a.      All discovery shall be completed on or before January 4, 2024.

                b.      All expert witnesses shall be identified and a copy of each expert’s report
                        shall be provided to every other party, in accordance with Fed. R. Civ. P.
                        26(a)(2) on or before January 10, 2024.

                c.      All discovery disclosures pursuant to Fed. R. Civ. P. 26(a)(3) shall be
                        served on opposing parties and filed with the bankruptcy court on or
                        before January 10, 2024.

                d.      Any objections to Rule 26(a)(3) disclosures shall be served on opposing
                        counsel and filed with the bankruptcy court on or before January 17,
                        2024.

                e.      All motions to amend the pleadings, or for summary judgment, 1 shall be


        1
                 A motion for summary judgment shall include a separate statement of those material
facts that the movant contends are not in dispute with supporting citations to the record. Failure to
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                       filed on or before January 17, 2024. If such a motion or motions is/are
                       filed, the parties are not relieved of their obligation to comply with the
                       terms of the balance of this Pretrial Order.

               f.      A Joint Pretrial Statement shall be filed in accordance with Local
                       Bankruptcy Rule 7016-1 on or before February 1, 2024.


7.     A mandatory final pretrial/settlement conference shall be held on Wednesday, February
       7, 2024 at 2:00 p.m. in the United States Bankruptcy Court, Gateway Building,
       Fourth Floor Courtroom, 201 Penn St., Reading, Pennsylvania, 19601.

8.     If the adversary proceeding is not resolved prior to the conclusion of the final
       pretrial/settlement conference, the adversary proceeding shall be set down for trial at the
       Court’s first available date.

9.     Each party may file, no later than five (5) days prior to the date of trial, a trial
       memorandum with service on the opposing part(y)(ies) and a courtesy copy delivered to
       Chambers. The trial may be continued only in exceptional circumstances on
       Motion and leave of Court.

10.    All trial exhibits shall be pre-marked and exchanged at least three (3) business days prior
       to the date of trial.




Date: 11/7/23
                                               PATRICIA M. MAYER
                                               U.S. BANKRUPTCY JUDGE




comply with this requirement shall be grounds for summary denial of the motion.
